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 1
                                  IN THE UNITED STATES DISTRICT COURT
 2                                      FOR THE DISTRICT NEVADA
 3   CUNG LE, NATHAN QUARRY, JON FITCH,
     BRANDON VERA, LUIS JAVIER                               Case No. 2:15-cv-01045-RFB-BNW
 4
     VAZQUEZ, and KYLE KINGSBURY, On
 5   Behalf of Themselves and All Others Similarly
     Situated,
 6
                    Plaintiffs,
 7

 8          v.

 9   ZUFFA, LLC, D/B/A ULTIMATE FIGHTING
     CHAMPIONSHIP and UFC,
10
                    Defendant.
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                 PLAINTIFFS’ MOTION FOR FINAL APPROVAL OF THE SETTLEMENT
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 1            Plaintiffs in the action Le, et al. v. Zuffa, LLC d/b/a Ultimate Fighting Championship and UFC,

 2   Case No. 2:15-cv-01045 (D. Nev.) (the “Action”), on behalf of themselves and the certified Class,

 3   hereby move for an order:

 4            1.      Granting final approval of the Settlement Agreement pursuant to Federal Rule of Civil

 5   Procedure 23(e). 1

 6            2.      Approving the Plan of Allocation, 2 which provides a fair and reasonable method of

 7   determining each Class Member’s allocated share of the Net Le v. Zuffa Settlement Fund, including a

 8   schedule for the claims process.

 9            3.      Entering a Final Judgment and Order terminating the litigation between Plaintiffs and

10   Defendant.

11            WHEREFORE, for the reasons set forth in the accompanying memorandum of law, supporting

12   Declaration of Bach-Viet Nguyen of Angeion Group, LLC re Implementation of Settlement Notice

13   Plan and Report on Objection Received, all exhibits filed in support of this Motion, and all other

14   submissions filed in support of the Settlement, Plaintiffs respectfully request that the Court grant this

15   Motion and enter the proposed Final Judgment and Order filed herewith.

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      Unless otherwise defined herein, all capitalized terms have the same meanings set forth in the
26   September 26, 2024 Settlement Agreement, attached as Exhibit 1 to the Joint Supplemental Declaration
     of Eric L. Cramer, Richard Koffman, and Joseph R. Saveri in Support of Plaintiffs’ Motion for
27   Preliminary Approval of the Settlement (filed on October 7, 2024). See ECF Nos. 1045-2 (the
     declaration), 1045-4 (the Settlement Agreement).
28   2
         The Plan of Allocation is attached as Exhibit 2 to the October 2024 Decl. See ECF No. 1045-5.


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 1   Dated: January 30, 2025                            Respectfully submitted,

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                       PLAINTIFFS’ MOTION FOR FINAL APPROVAL OF THE SETTLEMENT
